                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


DAVID KELLEY, derivatively on behalf of
KOHL’S CORPORATION,

                               Plaintiff,                   Case No. 2:24-cv-00604-LA

                v.

PETER BONEPARTH, WENDY ARLIN,
MICHAEL J. BENDER, YAEL COSSET,
CHRISTINE DAY, H. CHARLES FLOYD,
MARGARET L. JENKINS, THOMAS A.
KINGSBURY, ROBBIN MITCHELL, JONAS
PRISING, JOHN E. SCHLIFSKE, ADRIANNE
SHAPIRA, and ADOLFO VILLAGOMEZ,

                               Defendants,

and

KOHL’S CORPORATION,

                               Nominal Defendant.

                          NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE THAT Plaintiff David Kelley hereby serves this notice of

voluntary dismissal of the above-captioned action (the “Action”) without prejudice pursuant to

Fed. R. Civ. P. Rule 41 (a)(1)(A)(i) with each party to bear their own costs. No defendant has

served an answer or motion for summary judgment in the Action.

                                                   THE WEISER LAW FIRM, P.C.

                                                      s/ James M. Ficaro
                                                    JAMES M. FICARO
                                                    jficaro@weiserlawfirm.com
                                                    Four Tower Bridge 200
                                                    Barr Harbor Drive, Suite 400
                                                    West Conshohocken, PA 19428
                                                    Telephone: (610) 225-0206



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